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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
      SHENZHEN ROOT TECHNOLOGY CO.                     CASE NO. C23-0631-KKE
 8
      LTD. et al.,
                                                       SCHEDULING ORDER
 9
                            Plaintiff(s),
             v.
10
      CHIARO TECHNOLOGY LTD.,
11
                            Defendant(s).
12

13          Pursuant to the parties’ stipulation and the Court’s prior order (Dkt. No. 151), the Court

14   issues the following case schedule:

15                                     Event                     Extended Deadline

16                   Preliminary Invalidity and non-
                                                             March 7, 2025
                     infringement contentions
17
                     Plaintiff’s Answer to Cross-claims      March 21, 2025
18
                     Exchange of Proposed Terms and
                                                             March 14, 2025
19                   Claim elements for construction

                     Exchange of Preliminary Claim
20                                                        March 21, 2025
                     Constructions and Extrinsic Evidence
21                   Joint Claim Construction and
                                                             March 28, 2025
                     Prehearing Statement
22
                     Opening Expert Disclosures for Claim
23                                                        April 4, 2025
                     Construction
24


     SCHEDULING ORDER - 1
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 1                 Rebuttal Expert Disclosures for Claim
                                                         April 18, 2025
                   Construction
 2
                   Completion of Claim Construction
                                                           May 9, 2025
 3                 Discovery

 4                 Opening Claim Construction Briefs       May 16, 2025

                   Responsive Claim Construction Brief     May 30, 2025
 5
                   Claim Construction Hearing              TBD
 6

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           Dated this 12th day of March, 2025.
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11                                                     Kymberly K. Evanson
                                                       United States District Judge
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     SCHEDULING ORDER - 2
